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                                 Harry R. Thomasson, Esq.
                                  3280 Sunrise Highway, Box 112                  Admitted:
                                    Wantagh, New York 11793                      Massachusetts
                                         Tel. 516-557-5459                       New York
                                         hrtatty@verizon.net

                                              August 15, 2023

VIA EMAIL ONLY TO Emanuel<@mllaborlaw.com

Emanuel Kataev, Esq.
MILMAN LABUDA LAW GROUP PLLC
3000 Marcus Avenue, Suite 3W8
Lake Success, NY 11042-1073

       Re:    Anthony Deo and Superb Motors

Dear Mr. Kataev:

       I am writing in response to your correspondence received today via email. Please be
advised, as follows:

       1. I have told you on one or more occasions to stop communicating with my client.
          Today's email from you was copied to my client. He is represented by counsel. DO
          NOT COMMUNICATE WITH MY CLIENT AGAIN OR I WILL GO TO THE
          BAR GRIEVANCE COMMITTEE.
       2. From your continuing correspondence, it seems clear that you are not that familiar
          with how floor plans work. My client has cooperated with audits at his Syosset store
          through Superb's floor plans since at least December, 2022. If there was a problem
          with those audit's at the Syosset store, he would have been so notified long ago. Stop
          trying to suggest that it is a problem for cars to be at that location (and at the Sunrise
          Highway location in Amityville) since Superb cars have been at those locations with
          your clients' full knowledge and authority (if necessary, all rights reserved) since at
          least December, 2022.
       3. If there is a problem now, and my client has not spoken to the floor plan companies in
          months, then 1) the floor plan companies can speak with me anytime; 2) we certainly
          are not just accepting the word of people who falsely claim that my client "stole" 102
          cars; 3) we certainly are not just accepting the word of people who falsely claim that
          my client "stole" $760,000.00; 4) the situation is being created by your clients,
          obviously, because only your clients have contacted (and manipulated) the floor plan
          companies and my client has not spoken to them in months; and 5) we are not doing
          anything until and unless I review the floor plan contracts and speak with the floor
          plan companies myself.
       4. Accordingly, please forward the floor plan contracts for my review at your earliest
          convenience.
                                                 1
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         This letter is in addition to my prior letters and emails, and I continue to insist that if you
 are trying to position this case for a favorable ex parte ruling while I am on vacation, I insist on
 my letters and emails also being given to any judge you may approach on the subject or risk
 intentionally misleading the Court. Awaiting those contracts, I remain,

                                                 Very truly yours,

                                            ~--~'.:>
                                                 Harry R. Thomasson

 Cc:     MIM Anthony Deo




                                                    2
